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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    AGUSTIN PENA-CONTRERAS
7                        IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,       )      No. CR-S-11-00338-GEB
10                                   )
                    Plaintiff,       )
11                                   )      STIPULATION AND [PROPOSED] ORDER
          v.                         )      TO CONTINUE STATUS CONFERENCE
12                                   )
     AGUSTIN PENA-CONTRERAS,         )
13   et al.,                         )      Date: December 2, 2011
                                     )      Time: 9:00 a.m.
14                  Defendants.      )      Judge: Hon. Garland E. Burrell
                                     )
15   _______________________________ )
16           The parties request that the status conference in this case be
17   continued from November 4, 2011, to December 2, 2011 at 9:00 a.m.         They
18   stipulate that the time between November 4, 2011 and December 2, 2011
19   should be excluded from the calculation of time under the Speedy Trial
20   Act.   The parties stipulate that the ends of justice are served by the
21   Court excluding such time, so that counsel for the defendant may have
22   reasonable time necessary for effective preparation, taking into account
23   the exercise of due diligence. 18 U.S.C §3161(h)(7)(A) and (B)(iv).
24   Specifically, counsel needs additional time to negotiate a resolution to
25   this matter and to investigate the facts of the case. The parties
26   stipulate and agree that the interests of justice served by granting this
27   continuance outweigh the best interests of the public and the defendant
28   in a speedy trial. 18 U.S.C §3161(h)(7)(A) and (B)(iv).
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1    Dated: November 1, 2011                     Respectfully submitted,
2                                                DANIEL BRODERICK
                                                 Federal Defender
3                                                /s/ Douglas Beevers
                                                 DOUGLAS BEEVERS
4                                                Assistant Federal Defender
                                                 Attorney for Defendant
5                                                AGUSTIN PENA-CONTRERAS
6    Dated: November 1, 2011                     /s/ Olaf Hedberg
                                                 OLAF HEDBERG
7                                                Attorney for Defendant
                                                 NEMECIO GARCIA-ALCAZAR
8
     Dated: November 1, 2011                     BENJAMIN B. WAGNER
9                                                United States Attorney
10                                               /s/ Heiko Coppola
                                                 HEIKO COPPOLA
11                                               Assistant United States Attorney
12
                                         ORDER
13
          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
14
     ordered that the status conference presently set for November 4, 2011, be
15
     continued to December 2, 2011, at 9:00 a.m. Based on the representation
16
     of counsel and good cause appearing therefrom, the Court hereby finds
17
     that the ends of justice to be served by granting a continuance outweigh
18
     the best interests of the public and the defendant in a speedy trial.          It
19
     is ordered that time from the date of this Order, to and including, the
20
     December 2, 2011, status conference shall be excluded from computation of
21
     time within which the trial of this matter must be commenced under the
22
     Speedy Trial Act pursuant to 18 U.S.C §3161(h)(7)(A) and (B)(iv) and
23
     Local Code T-4.
24
25   Dated:    November 3, 2011

26
27                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
28


     Stip and Order                           -2-
